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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 17-892V
                                     Filed: June 3, 2019

* * * * * * * * * * * * *
BARBARA FANTELL, as mother and
                        *                                          UNPUBLISHED
natural guardian of minor, H.F., and
                        *
SCOTT FANTELL, as father and
                        *
natural guardian of minor, H.F.,
                        *
                        *                                          Decision on Joint Stipulation;
         Petitioners,   *                                          Idiopathic Thrombocytopenia
                        *                                          Purpura (“ITP”); Measles-
v.                      *                                          mumps-rubella (“MMR”)
                        *                                          Vaccine; Inactivated poliovirus
SECRETARY OF HEALTH     *                                          (“IPV”) Vaccine;
AND HUMAN SERVICES,     *                                          Meningococcal (“MCV”) Vaccine
                        *
         Respondent.    *
* * * * * * * * * * * * *

Jeffrey Pop, Esq., Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Daniel Anthony Principato, Esq., US Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Roth, Special Master:

        On June 29, 2017, Barbara and Scott Fantell [“petitioners”] filed a petition for
compensation under the National Vaccine Injury Compensation Program2 on behalf of their minor
child, H.F. Petitioners allege that H.F. developed idiopathic thrombocytopenia purpura (“ITP”)
after receiving measles-mumps-rubella (“MMR”), inactivated poliovirus (“IPV”), and
meningococcal (“MCV”) vaccinations on or about February 13, 2015. Stipulation, filed May 31,

1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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2019, at ¶¶ 1-4. Respondent denies that any of the aforementioned immunizations caused H.F.’s
injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On May 31, 2019, the parties filed
a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           A lump sum of $75,000.00 in the form of a check payable to petitioners, as
           guardians/conservators of H.F.’s estate. This amount represents compensation for all
           damages that would be available under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision.3

       IT IS SO ORDERED.

                                              s/ Mindy Michaels Roth
                                              Mindy Michaels Roth
                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                 2
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